




NO. 07-08-0517-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



JANUARY 30, 2009



______________________________





TYRONE COLEMAN, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE COUNTY COURT OF HALE COUNTY;



NO. 2008C-743; HONORABLE DWAIN DODSON, JUDGE



_______________________________



Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

ABATEMENT AND REMAND

Following a plea of not guilty, Appellant, Tyrone Coleman, was convicted by a jury of misdemeanor assault and punishment was assessed by the trial court at one year confinement in the county jail. &nbsp;The clerk’s record was filed on January 27, 2009. &nbsp;Upon reviewing the clerk’s record, it came to this Court’s attention that the 
Trial Court’s Certification of Defendant’s Right of Appeal
 does not comply with Rule 25.2(d) of the Texas Rules of Appellate Procedure.
(footnote: 1) &nbsp;As of September 1, 2007, a defendant must sign and receive a copy of the certification. &nbsp;Additionally, the new form provides certain admonishments to a defendant not previously required. &nbsp;&nbsp;

Consequently, we abate this appeal and remand this cause to the trial court for further proceedings. &nbsp;Upon remand, the trial court shall utilize whatever means necessary to secure a proper 
Trial Court’s Certification of Defendant’s Right of Appeal 
in compliance with Rule 25.2(d). &nbsp;Once properly completed and executed, the certification shall be included in a supplemental clerk’s record. &nbsp;
See
 Tex. R. App. P. 34.5(c)(2).
 &nbsp;The trial court shall cause this supplemental clerk's record
 to be filed with the Clerk of this Court by March 16, 2009.
 This order constitutes notice to all parties, pursuant to Rule 37.1 of the Texas Rules of Appellate Procedure, of the defective certification. &nbsp;If a supplemental clerk’s record containing a proper certification is not filed in accordance with this order, this matter will be referred to the Court for dismissal. &nbsp;
See 
Tex. R. App. P. 25.2(d). 

It is so ordered.

Per Curiam



Do not publish.

FOOTNOTES
1:The proper form for the 
Trial Court’s Certification of Defendant’s Right of Appeal 
is contained in Appendix D to the 2008 Texas Rules of Appellate Procedure.




